IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
No. 5:07-CV-275-D
SILICON KNIGHTS, INC.,

Pla.im.iff,

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)
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v. ) ORDER
EPIC GAMES, INC., §

Defendant. §

On May 30, 2012, after an eleven-day trial and one day of deliberations, a jury returned a
verdict against Silicon Knights, Inc. (“Silicon Knights” or “plaintift”) [D.E. 802]. The jury found
that Silicon Knights failed to prove its breach of contract claim, and that Epic Games, Inc. (“Epic
Games” or “defendant”) had proven its breach of contract, copyright inii‘ingement, and trade secret
misappropriation counterclaims §§ 1-3. The jury awarded Epic Games $2,650,000.00 for its
breach of contract counterclaim, and $1,800,000.00 for its copyright infringement and trade secret
misappropriation counterclaims I_d. 2-3. On May 30, 2012, the court entered a judgment reflecting
the jury’s verdict [D.E. 804]. 'Ihereafter, in accordance with a schedule that this court set, Silicon
Knights and Epic Games filed numerous post-trial motions

On June 13 , 2012, Silicon Knights moved to stay execution and enforcement of the judgment
83 Pl.’s Mot. Stay [D.E. 808]. On June 20, 2012, Epic Games responded in opposition. S£ Def.’s
Mem. Opp’n Mot. Stay [D.E. 81 1]. On July 6, 2012, Silicon Knights replied. M Pl.’s Reply Mot.
Stay [D.E. 827].

On July 2, 2012, Epic Games moved for costs. §§ Def.’s Mot. Costs [D.E. 813]. On August

1, 2012, Silicon Knights moved to disallow Epic Games’s costs, B Pl.’s Mot. Disallow Costs [D.E.

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838], and filed a supporting memorandum. w Pl.’s Mem. Supp. Mot. Disallow Costs [D.E. 839].
On August 16, 2012, Epic Games replied. w Def.’s Reply Mot. Costs [D.E. 842].

On July 2, 2012, Epic Games moved for an award of attomey’s fees, s_e§ Def.’s Mot.
Attorney’s Fees [D.E. 814], and filed a supporting memorandum. S_e§ Def.’s Mem. Supp. Mot.
Attorney’s Fees [D.E. 815]. On August l, 2012, Silicon Knights responded in opposition. g Pl.’s
Mem. Opp’n Mot. Attomey’s Fees [D.E. 837]. On August 16, 2012, Epic Games replied. g Def.’s
Reply Mot. Attorney’s Fees [D.E. 843].

On July 2, 2012, Epic Games moved to amend the judgment, g Def. ’s Mot. Amend J. [D.E.
816], and filed a supporting memorandum. _Sg Def.’s Mem. Supp. Mot. Amend J. [D.E. 817]. On
August 1, 2012, Silicon Knights responded in opposition. B Pl.’s Mem. Opp’n Mot. Amend J.
[D.E. 835]. On August 16, 2012, Epic Games replied. m Def.’s Reply Mot. Amend J. [D.E. 841].

On July 2, 2012, Silicon Knights moved to alter the judgment by remittitur, g Pl.’s Mot.
Remittitur [D.E. 818], and filed a supporting memorandum. g Pl.’s Mem. Supp. Mot. Remittitur
[D.E. 819]. On August l, 2012, Epic Games responded in opposition. w Def. ’s Mem. Opp’n Mot.
Remittitur [D.E. 830]. On August 16, 2012, Silicon Knights replied. &g Pl.’s Reply Mot.
Remittitur [D.E. 845].

On July 2, 2012, Epic Games moved for a permanent injunction, §§ Def.’s Mot. lnj. [D.E.
820], filed a supporting memorandum, § Def.’s Mem. Supp. Mot. lnj. [D.E. 821], filed a proposed
sealed exhibit in support of its motion for a permanent injunction [D.E. 822], and moved to seal the
proposed sealed exhibit [D.E. 823]. On August 1, 2012, Silicon Knights responded in opposition.
S£ Pl.’s Mem. Opp’n Mot. lnj. [D.E. 836]. On August 16, 2012, Epic Games replied. E Def.’s
Reply Mot. lnj. [D.E. 844].

On July 2, 2012, Silicon Knights moved for judgment as a matter of law, _s§§ Pl.’s Mot. J.

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as Matter of Law [D.E. 824], and filed a supporting memorandum. w Pl.’s Mem. Supp. Mot. J.
as Matter of Law [D.E. 825]. On August l, 2012, Epic Games responded in opposition, g Def.’s
Mem. Opp’n Mot. J. as Matter of Law [D.E. 831], and moved to seal the response and first two
attached exhibits [D.E. 833]. On August 16, 2012, Silicon Knights replied. w Pl.’s Reply Mot.
J. as Matter of Law [D.E. 846].

On July 25, 2012, Epic Games moved to compel complete responses to its post-judgment
interrogatories and requests for production, § Def.’s Mot. Compel [D.E. 828], and filed a
supporting memorandum. § Def.’s Mem. Supp. Mot. Compel [D.E. 829]. On August 8, 2012,
Silicon Knights responded in opposition. gte Pl.’s Mem. Opp’n Mot. Compel [D.E. 840].

As explained below, the court denies as moot Silicon Knights’s motion to stay, grants in part
and denies in part Epic Games’s motion for costs, grants in part and denies in part Silicon Knights’s
motion to disallow costs, grants in part and denies in part Epic Games’s motion for attorney’s fees
and expert witness fees, grants in part and denies in part Epic Games’s motion to amend the
judgment, denies Silicon Knights’s motion to alter the judgment by remittitur, grants in part and
denies in part Epic Games’s motion for a permanent injunction, grants Epic Games’s motion to seal
the exhibit filed in support of its motion for a permanent inj unction, denies Silicon Knights’s motion
for judgment as a matter of law, grants Epic Games’s motion to seal its response to Silicon Knights’s
motion for j udgment as a matter of law and the first two exhibits attached to that response, and grants
Epic Games’s motion to compel.

I.

Silicon Knights asks the court to stay the execution and enforcement of the judgment until
the parties have submitted, and the court has considered, all post-trial motions S_ee Pl.’s Mot. Stay
2-3. The deadline for submitting post-trial motions, responses, and replies has passed. S£ [D.E.

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806, 810]. All post-trial motions and the parties’ arguments supporting and opposing those motions
are ripe, and this order resolves the pending motions Thus, the court denies as moot Silicon
Knights’s motion to stay.
II.

As for Epic Games’s motion for costs, Epic Games seeks an award of $280,910.24. w
Def.’s Mot. Costs l. Federal Rule of Civil Procedure 54(d)(1) governs a post-judgment motion for
an award of costs w Fed. R. Civ. P. 54(d)(1). Rule 54(d)(1) provides that “costs_other than
attorney’s fees_should be allowed to the prevailing party.” Ld. A “prevailing party” is “a party in
whose favor a judgment is rendered” or “one who has been awarded some relief by the co .”

Buckhannon Bd. & Care Home Inc. v. W. Va. Dep’t of Health & Human Res.. 532 U.S. 598, 603

 

(2001) (quotation and alteration omitted). “[T]he rule gives a presumption in favor of an award of
costs to the prevailing party.” Teagge v. Bakker, 35 F.3d 978, 996 (4th Cir. 1994); B Delta Air
Lines, Inc. v. Aug§t, 450 U.S. 346, 352 (1981). However, a district court has discretion to award
or deny costs to the prevailing party. w Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437,

441-42 (1987), superseded g other grounds by statute, 42 U.S.C. § 1988; Couram v. S.C. Dep’t of

 

Motor Vehicles, Civil ActionNo. 3:10-00001-MBS, 2011 WL 6115509, at *2 (D.S.C. Dec. 8, 2011)
(unpublished). A court “must justify its decision to deny costs by articulating some good reason for
doing so.” Chem v. Charnpion lnt’l Corp., 186 F.3d 442, 446 (4th Cir. 1996) (quotation and
citations omitted); § M, 35 F.3d at 996. A losing party’s good faith is insuchient, standing
alone, to justify denying costs to a prevailing party. M, 186 F.3d at 446. Instead, a losing
party’s good faith is a “virtual prerequisite” to a denial of costs in favor of the prevailing party. I_d.
Upon a finding of the losing party’S good faith, the court may deny an award of costs when “there
would be an element of injustice in a presumptive cost award.” Ld.; ge Delta Air Lines, 450 U.S.

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at 355 n.l4. The factors that a court should consider to determine whether such an element of
injustice would arise &om an award of costs are: “(1) misconduct by the prevailing party; (2) the
unsuccessful party’s inability to pay the costs; (3) the excessiveness of the costs in a particular case;
(4) the limited value of the prevailing party’s victory; or (5) the closeness and difficulty of the issues
decided.” Ellis v. Grant Thornton LLP, 434 F. App’x 232, 235 (4th Cir. 2011) (per curiam)
(unpublished); m mm 186 F.3d at 446-47.

When an award of costs to the prevailing party is appropriate, the court looks to federal law
to determine the scope of the award. S£ Crawford Fitting, 482 U.S. at 441-43. Section 1920 of
Title 28 of the United States Code lists taxable costs. 28 U.S.C. § 1920; ge Crawford Fitting, 482
U.S. at 441 (“[Section] 1920 defines the term ‘costs’ as used in Rule 54(d).”).l Section 1920’s list
of recoverable costs is exhaustive as to “expenses that a federal court may tax under the
discretionary authority found in Rule 54(d).” Crawford Fitting,482 U.S. at 441-42. Accordingly,

“Rule 54(d) does not provide authority to tax as costs those expenses not enumerated in [section]

 

1 Taxable costs under section 1920 include:
(1) Fees of the clerk and marshal;

(2) Fees for printed or electronically recorded transcripts necessarily obtained for use
in the case;

(3) Fees and disbursements for printing and Wimesses;

(4) Fees for exemplification and the costs of making copies of any materials where
the copies are necessarily obtained for use in the case;

(5) Docket fees under section 1923 . . . ;

(6) Compensation of court appointed experts, compensation of interpreters, and
salaries, fees, expenses, and costs of special interpretation services . . . .”

28 U.S.C. § 1920.

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1920.” Herold v. Hajoca Co;p., 864 F.2d 317, 323 (4th Cir. 1988); _s_e§ Crawford Fitting, 482 U.S.
at 441-42.

A court’s local rules also may impact a party’s ability to recover costs Pursuant to Federal
Rule of Civil Procedure 83 , “a district court . . . may adopt and amend rules governing its practice.”
m Fed. R. Civ. P. 83(a)(1). Local rules promulgated pursuant to Rule 83 “have the force and effect
of law, and are binding upon the parties and the court which promulgated them.” Jackson v. Beard,
828 F.2d 1077, 1078 (4th Cir. 1987) (quotation omitted). District courts have “broad discretion to
interpret their local rules [and] [o]nly in rare cases will [appellate courts] question the exercise of
discretion in connection with the application of . . . local rules.” Lmls v. Blue Cross of Cal.. Inc..
22 F.3d 839, 842 n.2 (9th Cir. 1994) (quotations and citations omitted); B AM_ Props. v. Town of
ChaEl Hill, 202 F. Supp. 2d 451, 453-54 (M.D.N.C. 2002). District courts routinely apply local

rules regulating the nature of recoverable costs Sie, gg=, Couram, 201 1 WL 61 15509, at *1; Bland

 

v. Fairfax Cnty., No. 1:10-CV-1030, 2011 WL 5330782, at *5 (E.D. Va. Nov. 7, 2011)
(unpublished). This court has promulgatedalocal rule governing the recovery of costs §geLocal

Civil Rule 54.1.2 Accordingly, this local rule further refines the scope of recoverable costs.

 

2 Local Civil Rule 54.1(c) provides a non-exhaustive list of normally recoverable costs:

(a) those items specifically listed on the bill of costs form. The costs incident to the
taking of depositions (when allowable as necessarily obtained for use in the
litigation) normally include only the reporter’s fee and charge for the original
transcript of the deposition;

(b) premiums on required bonds;
(c) actual mileage, subsistence, and attendance allowances for necessary witnesses
at actual costs, but not to exceed the applicable statutory rates, whether they reside

in or out of the district;

(d) one copy of the trial transcript for each party represented by counsel.

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Silicon Knights concedes that Epic Games was the prevailing party and may recover costs.
§§ Pl.’s Mot. Disallow Costs l-2; Pl.’s Mem. Supp. Mot. Disallow Costs 2-6; § w [D.E. 802,
804]. Nonetheless, Silicon Knights challenges three specific categories of costs, which it claims
Epic Games may not recover. The court examines each category seriatim.

First, Silicon Knights argues that Epic Games may not recover the $33,749.04 that Epic
Games seeks for audiovisual recordings Epic Games made of depositions taken in this case. Pl.’s

Mem. Supp. Mot. Disallow Costs 2-3; see [D.E. 813-2] 2-4. Silicon Knights asserts that the

 

depositions were recorded by both audiovisual and stenographic means, that the audiovisual
recordings were not necessary to preserve testimony for or present testimony at tiial, and therefore
that Epic Games may recover its costs for the stenographic transcription only. Pl.’s Mem. Supp.

Mot. Disallow Costs 2-3.3

 

Local Civil Rule 54.1(c)(l). Local Civil Rule 54.1(c) also identifies items “normally not taxed,
without limitation” as

(a) witness fees, subsistence, and mileage for individual parties, real parties in
interest, parties suing in representative capacities, and the officers and directors of
corporate parties;

(b) multiple copies of depositions;
(c) daily copy of trial transcripts, unless prior court approval has been obtained.

Local civil Ruie 54.1(c)(2).

3 Silicon Knights also argues that Epic Games’s summary table of deposition costs, [D.E.
813-2] 2-4, contains an error. Specifically, Silicon Knights contends that Daniel Vogel’s November
20, 2009 deposition cost $769.10, not the $1,136.85 indicated in the summary table. Pl.’s Mem.
Supp. Mot. Disallow Costs 3 n.2. Epic Games agrees that the cost is misstated, but contends that
the deposition cost $776.10, not $769.10. Def.’s Reply Mot. Costs 1 n.l. Epic Games did not
explain how it reached $776.10, and the court cannot reach that total based on the itemized costs
provided in the corresponding bill. M [D.E. 813-2] 40. Thus, the court finds that Daniel Vogel’s
November 20, 2009 deposition cost $769.10.

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Section 1920(2) permits a party to recover costs for videotaping a deposition and costs for
transcribing a videotaped deposition. S£ _(J_IM, 186 F.3d at 448-49. Typically, a party may not
recover costs for both unless the party proves that both audiovisual and stenographic recordings were
necessary. Ld. at 449; g Local Civil Rule 54.1(c)(2)(b). However, ‘then a party notices a
deposition to be recorded by nonstenographic means, or by both stenographic and nonstenographic
means, and no objection is raised at that time by the other party to the method of record[ing]
pursuant to Federal Rule of Civil Procedure 26(c), it is appropriate under [section] 1920 to award

the cost of conducting the deposition in the manner noticed.” Morrison v. Reichhold Chems. Inc.,

 

97 F.3d 460, 465 (l lth Cir. 1996) (per curiam) (footnote omitted); m Q_h_e_rry, 186 F.3d at 449;
Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1477 (10th Cir. 1997). Here, Epic Games
provided Silicon Knights notice that the depositions would be recorded by both audiovisual
videotaping and stenographic transcription. S£, g&, [D.E. 842-1] 11 4; c_f. [D.E. 813-2] 2-4. Silicon
Knights did not object. § [D.E. 842-1] 11 4. Moreover, the court finds that transcribing and
videotaping the depositions were “necessarily obtained for use in the case.” 28 U.S.C. § 1920(2).
Thus, pursuant to section 1920, the court awards Epic Games the $33,749.04 it paid to record the
depositions by audiovisual videotaping, as well as the $55,411.41 Epic Games paid to record the
depositions by stenographic means w m, 1 15 F.3d at 1477; Morrison, 97 F.3d at 464-65; m
Lsg [D.E. 813-2] 2-4.

Second, Silicon Knights argues that Local Civil Rule 54.1(c)(2)(a) prohibits Epic Games
from recovering the $44.44 in witness fees, subsistence costs, and mileage costs Epic Games paid
to witness Zachary Bishop, the $45.00 in witness fees, subsistence costs, and mileage costs Epic
Games paid to witness Nick Penwarden, and the $ l 3 8.00 Epic Games paid to subpoena witness Nick
Penwarden. Pl.’s Mem. Supp. Mot. Disallow Costs 3-4; s_ee [D.E. 813-1] 1; [D.E. 813-4] l. Local

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Civil Rule 54.1(c)(2)(a) precludes recovery of costs for “witness fees, subsistence, and mileage for
individual parties, real parties in interest, parties suing in representative capacities and the officers
and directors of corporate parties.” Local Civil Rule 54.1(c)(2)(a). Zachary Bishop is an attorney
formerly employed by Hunton & Williams LLP in Raleigh, North Carolina, and currently employed
by Wyrick Robbins Yates & Ponton LLP in Raleigh, North Carolina. Bishop Tr. May 24, 2012 AM
[D.E. 858] at 76. Nick Penwarden is a graphics programmer who has been employed by Epic
Games for approximately one year. Penwarden Tr. May 24, 2012 AM [D.E. 858] at 110. Zachary
Bishop and Nick Penwarden testified at trial and do not fall into any of the categories for which
Local Civil Rule 54.1(c)(2)(a) prohibits recovery of witness fees, subsistence costs, and mileage
costs Likewise, the $l38.00 paid to subpoena Nick Penwarden is recoverable. B 28 U.S.C. §
1920(3). Accordingly, Epic Games may recover these costs

Third, Silicon Knights argues that Epic Games is not entitled to recover certain costs for
imaging electronic information produced in discovery in this case, or certain costs for creating four
demonstrative exhibits used during Epic Games’s closing argument Pl.’s Mem. Supp. Mot.
Disallow Costs 4-5. As for the costs associated with imaging electronic information for document
production in this case, Epic Games seeks to recover $150,687.00 for imaging electronic
information, plus an additional $2,152.34 for purchasing hard drives as part of that production
process § [D.E. 813-5] l. ln opposition, Silicon Knights asserts that such costs are not
recoverable under section 1920(4). Pl.’s Mem. Supp. Mot. Disallow Costs 4-5. Altematively,
Silicon Knights argues that the costs are not properly documented Ld.

A prevailing party may recover “[f]ees for exemplification and the costs of making copies
of any materials when the copies are necessarily obtained for use in the case.” 28 U.S.C. § 1920(4).
Courts of appeals have held that certain costs for imaging electronic information for production in

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discovery can be recoverable under section 1920(4). _S§g Race Tires Am. Inc. v. Hoosier Racing
Tire Co;p., 674 F.3d 158, 167-68, 171 (3d Cir.), gs_r; <_lgr_u@, 2012 WL 2340866 (U.S. 2012); M
Ricoh Co., Ltd. Patent Litig., 661 F.3d 1361, 1365 (Fed. Cir. 2011); Hecker v. Deere & Co., 556
F.3d 575, 591 (7th Cir. 2009); BDT Prods_.,Mv. Lexmark Int’l. Inc.. 405 F.3d 415, 420 (6th Cir.
2005), abrogated Ll th grounds by Taniguchi v. Kan Pac. Saioan. Ltd.. 132 S. Ct. 1997 (2012).
The Fourth Circuit has not considered whether costs of imaging electronic information for
production in discovery can be recoverable under section 1920(4). However, district courts within
the Fourth Circuit generally have held that a party may recover such costs where the record shows
that the costs are the “costs of making copies” for production in discovery. w Farrar & Farrar
Dg'g, Inc. v. Miller-St. Nazianz, Inc., No. 5:06-CV-160-D, 2012 WL 776945, at *4-5 (E.D.N.C.

Mar. 8, 2012) (unpublished); Mann V. Heckler & Koch Def. Inc., No. 1:08cv6ll (JCC), 2011 WL

 

1599580, at *8 (E.D. Va. Apr. 28, 2011) (unpublished); Francisco v. Verizon S.. Inc.. 272 F.R.D.
436, 445-46 (E.D. Va. 2011). Furthermore, district courts outside the Fourth Circuit also have
permitted a prevailing party to recover such costs under section 1920(4). w, g&, Paradigm

Alliance Inc. v. Celeritas Techs. LLC, No. 07-1121-EFM, 2011 WL 3849724, at *1 (D. Kan. Aug.

 

30, 201 1) (unpublished); Cargill. Inc. v. Progmve Dairv Solutions.fn_g_., No. CV-F-07-0349-LJO-
SMS, 2008 WL 5135826, at *6 (E.D. Cal. Dec. 8, 2008) (unpublished).

Here, discovery was unusually extensive and Epic Games incurred $150,687.00 in costs in
imaging electronic information for document production, w [D.E. 813-5] 1. The court finds that
those costs fall within “the costs of making copies of any materials” and were “necessarily obtained

for use in the case.” 28 U.S.C. §1920(4).4 Thus, if properly documented, Epic Games can recover

 

4 Silicon Knights does not argue that Epic Games’s costs of imaging electronic information
were unnecessary. M Pl.’s Mem. Supp. Mot. Disallow Costs 4-5. Rather, Silicon Knights

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them. E 28 U.S.C. §1920(4); Race Tires Am. Inc., 674 F.3d at 171; In re Ricoh Co., 661 F.3d

 

at 1365; Hecker, 556 F.3d at 591.

 

“[N]o litigation costs should be awarded in the absence of adequate documentation . . . .”
Trimper v. Cigg of Norfolk, 58 F.3d 68, 77 (4th Cir. 1995). Here, Epic Games has provided adequate
documentation to support its request for 8150,687.00 in costs associated with imaging electronic
information for document production. _Sie [D.E. 813-5]. However, the court declines to award Epic
Games the additional $2,1 52.34 in costs it incurred to purchase hard drives for document production,
§ge [D.E. 813-5] l. The hard drives are reusable. Such costs are properly considered overhead and
are not recoverable. Accordingly, the court awards Epic Games $ l 50,687.00 in costs associated with
imaging electronic information produced in discovery. SA: 28 U.S.C. §1920(4).

As for the costs associated with producing four demonstrative exhibits Epic Games used in
its closing argument, Epic Games seeks $1,050.42 it paid to create a timeline spanning two large,
dry-erase boards (“timeline demonstratives”), one enlarged copy of defendant’s exhibit 2383A, and
one enlarged copy of defendant’s exhibit 2389B. § [D.E. 813-5] 1; Def.’s Reply Mot. Costs 6.
Silicon Knights argues that Epic Games cannot recover these costs. First, Silicon Knights argues
that Epic Games has not identified the specific exhibits created and has not indicated whether the
exhibits were actually used at trial. Pl.’s Mem. Supp. Mot. Disallow Costs 5. This argument fails

Epic Games’s bill of costs indicates that the four demonstrative exhibits created were “36x48 Dry

 

erroneously relies on a district court case that analyzes section 1920(4) before its amendment in 2008
to contend that such imaging does not constitute making “copies.” §§ J udicial Administration and
Technical Amendments Act of 2008, Pub. L. No. 110-406, § 6, 122 Stat. 4291 (2008) (replacing
“copies of papers” in section 1920(4) with “the costs of making copies of any materials”). Silicon
Knights also erroneously relies on another district court case for the proposition that in order for the
costs of making copies to be recoverable under section 1920(4), the copies must be filed with the
court. Given that section 1920(4) references copies “obtained for use in the case” (28 U.S.C.
§1920(4)), the court rejects Silicon Knights’s argument concerning section 1920(4).

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Erase Demonstrative [Exhibits] for Closing.” [D.E. 813-5] l . Only four such demonstrative exhibits
were used during the closing argument_two timeline demonstratives one enlarged copy of
defendant’s exhibit 2383A, and one enlarged copy of defendant’s exhibit 23 89B.

Second, Silicon Knights argues that Epic Games has not demonstrated that the four
demonstrative exhibits were necessary. Pl.’s Mem. Supp. Mot. Disallow Costs 5 . A party may
recover costs for creating demonstrative exhibits used in the party’s closing argument if the exhibits
were “necessarily obtained for use in the case.” 28 U.S.C. § 1920(4); §§ Cefalu v. Vill. of Elk

Grove, 211 F.3d 416, 427-28 (7th Cir. 2000); Olivarius v. Tharaldson Prop. Mgmt. Inc., No. 08 C

 

463, 2012 WL 1117468, at *5 (N.D. lll. Apr. 3, 2012) (unpublished). When considering whether
a demonstrative exhibit was “necessarily obtained for use in the case,” 28 U.S.C. § 1920(4), courts
must determine whether “the exemplification [was] vital to the presentation of the inforrnation, or
[whether it] was . . . merely a convenience or, worse, an extravagance.” Un, 21 l F.3d at 428-29;
§ Irwin Indus. Tool Co. v. Worthington Can_ders Wisc.. LLC. Civil No. 3:080v29l, 2010 WL
3895701, at *4 (W.D.N.C. Oct. l, 2010) (unpublished) (collecting cases). To do so, courts may
consider “whether the nature and context of the information being presented genuinely called for the

means of illustration that the party employed.” Cefalu, 211 F.3d at 428.

 

Here, both timeline demonstratives were “necessarily obtained for use in the case.” 28
U.S.C. § 1920(4). Epic Games (through counsel) used the timeline demonstratives to illustrate for
the jury the sequence of events referenced in Epic Games’s closing argument regarding Silicon
Knights’s breach of contract claim and Epic Games’s breach of contract counterclaim. §§ Epic
Games Closing Tr. May 29, 2012 AM [D.E. 860] at 143-67. Such framing was necessary. During
its closing argument, Epic Games repeatedly referenced the key dates and events (especially video
game industry tradeshows and conferences unfamiliar to lay jurors) central to the disputed issues

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concerning the May 10, 2005 license agreement (“License Agreement”). Epic Games repeatedly
recounted much of the relevant trial testimony and displayed and discussed many trial exhibits
relating to those dates and events § § Without the timeline demonstratives Epic Games’s
closing argument may have overwhelmed the jurors, who did not possess the same intimate
knowledge and command of the record that Epic Games’s counsel did. With the timeline
demonstratives, however, the jurors possessed the necessary framework within which to synthesize
the evidence and evaluate Epic Games’s arguments Furthermore, the presentation of facts in Epic
Games’s closing argument was not always chronological. Epic Games periodically moved forward
and backward in time as its argument and the supporting evidence dictated. The timeline
demonstratives helped the jury to keep pace.

Finally, the presentation of the timeline as two large, dry-erase demonstrative exhibits was
necessary. The courtroom in which this trial occurred is equipped with technology allowing parties
to publish exhibits on individual monitors provided in the jury box to each juror. The courtroom
technology also permits a party to highlight on, underline on, write on, circle portions of, enlarge
portions of, and otherwise manipulate trial exhibits when presenting evidence or arguments to aj ury.
Nevertheless, the courtroom technology did not provide an adequate means of displaying Epic
Games’s timeline. After a brief introduction, Epic Games set up its timeline demonstratives at the
beginning of its main argument on the parties’ breach of contract claims, presenting both timeline
demonstratives simultaneously. §_e__e_ § at 143-44. Using both timeline demonstratives, Epic Games
then reviewed with the jury the relevant chronology and made handwritten notes on the exhibits
g § Epic Games left both timeline demonstratives displayed as it transitioned into the details of
its closing argument As Epic Games presented its argument, counsel repeatedly referenced the
timeline demonstratives and counsel’s handwritten notes on them. § § at 143-167.

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Concurrently, Epic Games used the courtroom technology to display and discuss myriad exhibits
supporting Epic Games’s arguments § § Despite the logistical complexity of Epic Games’s
presentation, counsel’s closing argument was clear, coherent, and understandable Such a
presentation would not have been possible had Epic Games limited itself to the courtroom
technology. The two large boards on which Epic Games divided its timeline allowed Epic Games
to present the entire timeline to the jury at once and in an easily readable format The courtroom
technology, however, would have permitted only a single shrunken and unreadable slide, or two
slides presented in an equally shrunken and unreadable split screen. Furthermore, had Epic Games
relied exclusively on the courtroom technology to present its timeline, it would have had to juggle
the timeline along with the numerous exhibits, and consequently would have lost the constant,
overarching framework that made Epic Games’s arguments understandable to the jury. Finally, if
Epic Games had used the courtroom technology to present its timeline, it would have lost counsel’s
handwritten notes on the timeline whenever Epic Games displayed another exhibit to the jury. In
short, Epic Games’s timeline demonstratives were “necessarily obtained for use in the case,” 28
U.S.C. § 1920(4), and Epic Games may recover the costs associated with creating them.

The enlarged copies of defendant’s exhibits 23 83A and 23 89B, however, were not
“necessarily obtained for use in the case.” § Unlike counsel’s constant use of the timeline
demonstratives to frame its argument relating to the parties’ breach of contract claims, Epic Games
made only passing references to defendant’s exhibits 23 83A and 23 89B to support specific parts of
its argument regarding its copyright infringement and trade secret misappropriation counterclaims
As for defendant’s exhibit 23 83A, Epic Games displayed the enlarged copy to the jury, explained
in one sentence the exhibit’s importance to Epic Games’s copyright infringement counterclaim, and
then moved on to the next exhibit. w Epic Games Closing Tr. May 29, 2012 AM at 172-73. As

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for Epic Games’s use of the enlarged copy of defendant’s exhibit 23 89B, Epic Games enlarged only
the first page of the 348-page exhibit, briefly explained why defendant’s exhibit 23 89B supported
Epic Games’s trade secret misappropriation counterclaim, and then asked the jury to “read
[defendant’s exhibit 23 89B] yourself.” I_d_. at 167-68, For Epic Games’s limited use of defendant’s
exhibits 23 83A and 23 89B, the courtroom technology would have sufficed. These two
demonstrative exhibits were not necessary, and Epic Games may not recover the costs associated
with them. S_e§ 28 U.S.C. § 1920(4).

Epic Games’s bill of costs indicates that one demonstrative exhibit cost $281.82 to create,
and that the other three cost $256.20 each to create, g [D.E. 813-5] 1, 5-6. The bill of costs does
not indicate which demonstrative exhibit cost what. _Sg § Accordingly, the court assumes that the
timeline demonstratives cost $256.20 each to create. Thus, the court awards Epic Games $512.40
in costs related to the demonstrative exhibits Epic Games used in its closing arguments

In sum, the court awards Epic Games $277,852. 13 in costs

l]].

Epic Games seeks $2,201,813.51 in attorney’s fees and $1,088,337.29 for the cost of Epic
Games’s testifying experts § Def.’s Mot. Attorney’s Fees 1. As for Epic Games’s request for
attorney’s fees, Federal Rule of Civil Procedure 54(d)(2) requires a party to make “[a] claim for
attorney’s fees and related nontaxable expenses . . . by motion unless the substantive law requires
those fees to be proved at trial as an element of damages.” Fed. R. Civ. P. 54(d)(2)(A). A motion
for attorney’s fees must (1) “be filed no later than 14 days after the entry of the judgment[,]” (2)
“specify the judgment and the statute, rule, or other grounds entitling the movant to the award[,]”
(3) “state the amount sought or provide a fair estimate of it[,]” and (4) “disclose, if the court so
orders, the terms of any agreement about fees for the services for which the claim is made.” Fed.

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R. Civ. P. 54(d)(2)(B).

Epic Games timely moved for attorney’s fees and argues that paragraph 2(e)(iii) of the
License Agreement, 17 U.S.C. § 505, and North Carolina General Statute § 66-154(d) support an
award of $2,201,813.51 in attorney’s fees Def.’s Mem. Supp. Mot. Attorney’s Fees 1-6; Def.’s
Reply Mot. Attorney’s Fees 1-8.

Under North Carolina law, “a successful litigant may not recover attorneys’ fees, whether as

costs or as an item of damages, unless such a recovery is expressly authorized by statute.” Stillwell

 

Enters..fn_c. v. Interstate Equin. Co., 300 N.C. 286, 289, 266 S.E.2d 812, 814 (1980); §§ l\_lgc_o_r
Corr). v. Gen. Bearing Corr).. 333 N.C. 148, 154, 423 S.E.2d 747, 751 (1992); Hicks v. Albertson,
284 N.C. 236, 238, 200 S.E.2d 40, 42 (1973). A contractual provision obligating one party to pay
another party’s attorney’s fees is not enforceable absent a statutory basis for an award of attorney’s

fees Stillwell, 300 N.C. at 289, 266 S.E.2d at 814-15. There are certain equitable exceptions to this

 

rule, _S_e_e Ehrenhaus v. Baker, 717 S.E.2d 9, 32-35 (N.C. Ct. App. 2011). Epic Games does not
contend that its request for attorney’s fees falls into one of these exceptions §§ Def.’s Mem. Supp.
Mot. Attorney’s Fees 2; Def.’s Reply Mot. Attorney’s Fees 7-8.

Epic Games seeks attorney’s fees for its breach of contract counterclaim based on paragraph
2(e)(iii) of the License Agreement, g Def.’s Mem. Supp. Mot. Attorney’s Fees 2; Def.’s Reply
Mot. Attorney’s Fees 7-8. Epic Games cites no statute authorizing such an award, § Def.’s Mem.

Supp. Mot. Attorney’s Fees 2; Def. ’ s Reply Mot. Attorney’s Fees 7-8, and the court has found none.s

 

5 Although Epic Games has not cited it, the North Carolina General Assembly recently
enacted N.C. Gen. Stat. § 6-21.6, which applies to all “business contracts” entered into on or after
October 1, 2011. The statute permits a court or arbitrator to award reasonable attorney’s fees and
expenses if the “business contract” contains a “reciprocal attomey’s fee provision.” N.C. Gen. Stat.
§ 6-21.6. Because Epic Games and Silicon Knights entered the License Agreement on May 10,
2005, section 6-21.6 does not apply.

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Thus, the court declines to award attomey’s fees based on paragraph 2(e)(iii) of the License
Agreement, § M, 300 N.C. at 289, 266 S.E.2d at 814~15.

Epic Garnes next seeks attomey’s fees for its copyright infringement counterclaim based on
17 U.S.C. § 505, § Def.’s Mem. Supp. Mot. Attomey’s Fees 3-5; Def.’s Reply Mot. Attomey’s
Fees 1-3. Section 505 provides that “[i]n any civil action under [the federal Copyright Act], . . . the
court may . . . award a reasonable attomey’s fee to the prevailing party.” 17 U.S.C. § 505. Whether
to award attomey’s fees pursuant to section 505 is within the court’s discretion. Foge_r_ty v. Fantasy,
§§ 510 U.S. 517, 533-34 (1994). When determining whether to award attomey’s fees under
section 505, the court should consider four factors: (1) the parties’ motivation, (2) the objective
reasonableness of the parties’ legal and factual positions, (3) the need for compensation and
deterrence, and (4) any other factors that may warrant an award of attomey’s fees Superior Fonn
Builders, Inc. v. Dan Chase Taxidenny Supply Co., Inc., 74 F.3d 488, 498 (4th Cir. 1996); Diarnond
Star Bldg. Corp. v. Freed, 30 F.3d 503, 505 (4th Cir. 1994); Rosciszewski v. Arete Assocs.. Inc., 1
F.3d 225, 234 (4th Cir. 1993).

As for the parties’ motivation, willful infringement or bad faith by the infringing party is not

 

required, but a court may consider it. § Rosciszewski, 1 F.3d at 234; ABC Inc. v. Primetime 24

loint Venture, 67 F. Supp. 2d 558, 563 (M.D.N.C. 1999), aff"d, 232 F.3d 886, 2000 WL 1648875

 

(4th Cir. 2000) (per curiam) (unpublished table decision). The parties’ motivation is significant in
this case. Despite Silicon Knights’s contrary argument, § Pl.’s Mem. Opp’n Mot. Attomey’s Fees
8, the evidence presented at trial overwhelmingly demonstrated that Silicon Knights willfully
infringed Epic Games’s copyrights Over a prolonged time period, Silicon Knights repeatedly and
deliberately copied Epic Games’s copyrighted code into Silicon Knights’s video game and game
engine code. §, §§ Def.’s Exs. 2383, 2383A, 2383D, 2384, 2387, 2387A, 2388, 2501. Silicon

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Knights’s copying included not only Epic Games’s functional code, § Def.’s Exs. 23 88, 2501, but
also non-functional, internal comments Epic Games’s programmers had left for themselves §
Def.’s Exs. 2383D, 2388, 2501. Silicon Knights even failed to remove or correct typographical
errors Epic Games’s programmers had made in those comments § Def.’s Ex. 23 83D.

Once Silicon Knights had copied Epic Games’s copyrighted code into Silicon Knights’s
video game and game engine code, Silicon Knights initiated a prolonged coverup, removing Epic
Games’s copyright notices and disguising Epic Games’s copyrighted code as Silicon Knights’s own.
S§e, e. ., Def.’s Exs. 2387, 2387A, 2400-01, 2507. Silicon Knights then covered up its coverup,
until Silicon Knights’s wrongdoing was revealed at trial through Epic Games’s cross-examination
and the court’s own inquiries §, e. ., Young Tr. May 25, 2012 PM (sealed) [D.E. 849-1] at
43-91; Tr. May 25, 2012 PM [D.E. 859-1] at 50-54; Tr. May 29, 2012 AM [D.E. 860] at 2-31. ln
short, Silicon Knights’s infringement of Epic Games’s copyrights was willful and in bad faith,

As for the objective reasonableness of the legal and factual positions the parties advanced
regarding Epic Games’s copyright infringement counterclaim, the court should consider “whether
the positions advanced by the parties were frivolous . . . or well-grounded in law and fac .”
Rosciszewski, 1 F.3d at 234; § Primetime 24, 67 F. Supp. 2d at 563. Furthermore, the court should
consider whether the claim presented complex or novel legal and factual issues Primetime 24, 67
F. Supp. 2d at 563. “Ordinarily an award of attomey’s fees is not appropriate in copyright cases
involving novel, complex, or unsettled issues of law and fact.” I_d.

Silicon Knights contends that “discovery was extensive, contentious, and culminated in a 12-
day trial,” and that “[e]ven Epic [Games] admits that its [copyright infringement claim was] difficult
and expensive to prove and that substantial work by Epic [Games] and its experts were [sic] required
to develop the facts needed to prove the counterclaim[].” Pl. ’s Mem. Opp’n Mot. Attomey’s Fees

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9 (quotations and alteration omitted). “Based on the admitted complexity of this case,” Silicon
Knights continues, “this Court should . . . deny [Epic Games’s] request for fees . . . associated with
its [copyright] inhingement counterclairn.” §

The court rejects Silicon Knights’s argument Uncovering Silicon Knights’s copyright
infringement was undoubtedly arduous and expensive. Epic Games’s experts had to comb through
millions of lines of code that Silicon Knights had meticulously sought to “clean” in order to remove
Epic Games’ s copyright notices and to disguise Epic Games’s copyrighted code as Silicon Knights’s
own. In other words, Silicon Knights’s code cleanup effort made discovery of Silicon Knights’s
wrongdoing more difficult than it otherwise would have been. But that does not somehow render
Epic Games’s copyright in&ingement counterclaim factually complex. Likewise, Epic Games’s
copyright infringement counterclaim presented no complex, novel, or unsettled legal issues The
counterclaim instead presented a straightforward copyright infringement claim supported by a
mountain of direct and indirect evidence. Thus, the objective reasonableness of the parties’ legal and
factual positions supports an award of attomey’s fees for Epic Games’s copyright infringement
counterclaim.

As for the need for compensation and deterrence, both weigh heavily in favor of awarding
attomey’s fees to Epic Games As explained, over a prolonged time period, Silicon Knights
deliberately and repeatedly copied thousands of lines of Epic Games’s copyrighted code, and then
attempted to conceal its wrongdoing by removing Epic Games’ s copyright notices and by disguising
Epic Games’s copyrighted code as Silicon Knights’s own. Silicon Knights’s coverup forced Epic
Games’s attorneys, working with Epic Games’s experts, to engage in significant discovery, pouring
over millions of lines of code and thousands of pages of documents to uncover Silicon Knights’s
wrongdoing. Epic Games’s attorneys then took significant pains to create trial exhibits and elicit

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trial testimony that clearly demonstrated Silicon Knights’s copyright infringement to the jury. Epic
Games’s attorneys also made significant efforts to reveal at trial the breadth and scope of Silicon
Knights’s coverup. Silicon Knights’s wrongdoing unnecessarily raised Epic Games’s legal fees
Moreover, Silicon Knights must be deterred from taking the same wrongful actions Thus, the need
for compensation and deterrence heavily favors awarding Epic Games attomey’s fees for its
copyright infringement counterclaim.

In sum, the record overwhelmingly supports an award of attomey’s fees on the copyright
inhingement counterclaim. Accordingly, pursuant to section 505 , the court awards Epic Games its
reasonable attomey’s fees for its copyright infringement counterclaim.

Thjrd, Epic Games seeks attomey’s fees for its trade secret misappropriation counterclaim
based on North Carolina General Statute § 66-154(d). § Def.’s Mem. Supp. Mot. Attomey’s Fees
6; Def.’s Reply Mot. Attomey’s Fees 3-7. Section 66-154(d) provides that “if willful and malicious
misappropriation exists, the court may award reasonable attomeys’ fees to the prevailing party.”
N.C. Gen. Stat. § 66-154(d). “Willful means intentionally . . . . Willful is used in contradistinction
to accidental or unavoidably.” In re Pierce, 163 N.C. 247, 79 S.E. 507, 508 (1913); § Yancey v.
§ 354 N.C. 48, 52, 550 S.E.2d 155, 157 (2001); Foster v. H}§an, 197 N.C. 189, 148 S.E. 36, 37
(1929); Allstate Ins. Co. v. Lahoud. 167 N.C. App. 205, 208-09, 605 S.E.2d 180, 183 (2004).
“Malicious” means an action taken “in a manner which evidences a reckless and wanton disregard
of the plaintiffs rights.” Moore v. Cigg of Creedrnoor, 345 N.C. 356, 371, 481 S.E.2d 14, 24 (1997)
(quotations omitted) (collecting cases). Whether to award attomey’s fees under section 66-154(d)
is committed to this court’s sound discretion. § M, 185 N.C.
App. 153, 155, 647 S.E.2d 672, 674 (2007).

Silicon Knights willfully misappropriated Epic Games’s trade secrets Silicon Knights

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misappropriated 333 of Epic Games’ s trade secrets over the course of several years and in connection
with several projects §, §§, Joint Amended Pretrial Order Part l].B 11 61; [D.E. 532-3] 32-34 &
Ex. C; Def.’s Exs. 2391-92, 2394, 2508 (sealed), 2509 (sealed), 2510 (sealed); § §sg Def. ’s Reply
Mot. Attomey’s Fees 6-7. Silicon Knights copied many of the trade secrets verbatim from Epic
Games’s code and transplanted them into Silicon Knights’s code. §, §§, Def.’s Exs. 2508
(sealed) (describing, in a comment left by a Silicon Knights employee, a particular Epic Games trade
secret as being “ripped directly from Unreal”), 2509 (sealed) (same). Such extensive, repeated, and
blatant misappropriation cannot be described as accidental or unavoidable. § mg 354 N.C.
at 52, 550 S.E.2d at 157; Allstate Ins., 167 N.C. App. at 208-09, 605 S.E.2d at 183. Rather, it was
willful.

Silicon Knights’s misappropriation also was malicious Silicon Knights knew that Epic
Games’s Unreal Engine 3 (“UE3”) code contained trade secrets §, §§, Pl.’s Ex. 1005 11 6(b);
Def.’s Ex. 2001 11 6(b). Despite this knowledge, Silicon Knights repeatedly and deliberately copied
significant portions of Epic Games’s code containing trade secrets Silicon Knights never bothered
determining whether the code it copied represented an Epic Games trade secret. Silicon Knights
simply “ripped” the code and the 333 trade secrets it encompassed “directly from [the] Unreal
[Engine 3],” Def.’s Exs. 2508 (sealed), 2509 (sealed), and used it to create a competing product,
Silicon Knights’ s own game engine. Conveniently, the trade secrets Silicon Knights misappropriated
comprised the very code that Silicon Knights could not figure out how to write on its own. Silicon
Knights’s actions demonstrate “a reckless and wanton disregard of [Epic Games’ s] rights,” and were

therefore malicious Moore, 345 N.C. at 371, 481 S.E.2d at 24.6 Because Silicon Knights willfully

 

 

6 Silicon Knights contends that its misappropriation was not malicious because Silicon
Knights had reasonable grounds for disputing Epic Games’s claimed trade secrets Pl.’s Mem.

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and maliciously misappropriated Epic Games’s trade secrets, the court will award Epic Games its
reasonable attomey’s fees for its trade secret misappropriation counterclaim.

Having determined that Epic Games should not receive attorney’s fees for its breach of
contract counterclaim, and that Epic Games should receive reasonable attomey’s fees for its
copyright infringement and trade secret misappropriation counterclaims the court must now
determine a reasonable amount of attorney’ s fees to award Epic Games When calculating attomey’s
fees, courts must “determine a lodestar figure by multiplying the number of reasonable hours
expended times a reasonable rate.” Brodziak v. Runyon, 145 F.3d 194, 196 (4th Cir. 1998)
(quotations and alteration omitted); § Robinson v. Eguifax Info. Servs., LLC, 560 F.3d 235,
243-44 (4th Cir. 2009); Grissom v. Mills Corp., 549 F.3d 313, 320-21 (4th Cir. 2008). Courts do
so by applying the JohnsonfBarber factors § Hensley v. Eckerhart, 461 U.S. 424, 433-34 & n.9
(1983) (explaining lodestar calculations and approving the twelve-factor test set forth in Johnson v.
Ga. Higbway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), overruled § other grounds by
Blanchard v. Bergeron, 489 U.S. 87 (1989)); Barber v. Kimbrell’s. Inc.. 577 F.2d 216, 226 n.28 (4th
Cir. 1978) (adopting Johnson’s twelve-factor test).

The JohnsonfBarber factors include:

(1) the time and labor expended; (2) the novelty and difficulty of the
questions raised; (3) the skill required to properly perform the legal services
rendered; (4) the attomey’s opportunity costs in pressing the instant litigation;
(5) the customary fee for like work; (6) the attomey’s expectations at the
outset of the litigation; (7) the time limitations imposed by the client or
circurnstances; (8) the amount in controversy and the results obtained; (9) the
experience, reputation and ability of the attorney; (10) the undesirability of

the case within the legal community in which the suit arose; (11) the nature
and length of the professional relationship between attorney and client; and

 

Opp’n Mot. Attomey’s Fees 12. At trial, Silicon Knights presented evidence on this issue. The
evidence was wholly lacking, and the court rejects Silicon Knights’s argument

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(12) attorneys’ fees awards in similar cases
M, 549 F.3d at 321 (quotation omitted). Although the Mn/B§b§ factors often are
subsumed in the district court’s determination of the lodestar figure, the court also may consider
those factors in evaluating whether the lodestar figure is reasonable. He_nslgy, 461 U.S. at 434 n.9.
However, a court need not list each Mn/B§b§ factor or comment on those factors that do not
apply. _S_§§ §§, §strom v. Dalkon Shield Claimants Trust (In re A.H. Robins Co.), 86 F.3d 364,
376 (4th Cir. 1996).

As to the reasonableness of Epic Games’s attomey’s fees, Silicon Knights argues that “Epic
[Garnes] asserted 1,442 trade secrets against [Silicon Knights],” but that “shortly before trial, Epic
[Garnes] . . . claimed only 288 [sic] as misappropriated.” Pl.’s Mem. Opp’n Mot. Attomey’s Fees
13. Silicon Knights requests that it not be held responsible for Epic Games’s attomey’s fees
associated with the 1,154 allegedly unasserted trade secrets §

The court rejects Silicon Knights’s argument, On October 24, 2007, Silicon Knights asked
Epic Games, via interrogatory, to “[i]dentify each and every trade secret that [Epic Games]
contend,[s] is contained in, and/or encompassed by, any aspect of the Licensed Technology [(the
UE3)] provided to Silicon Knights.” [D.E. 78] 12 (sealed). In response, Epic Games argued that
the interrogatory’s broad scope was unduly burdensome, but stated that Epic Games would
nonetheless “prepar[e] a list of its trade secrets and their respective locations that are relevant to this
action.” § 19 (sealed). Epic Games then prepared and provided a thirty-seven-page document
listing the alleged trade secrets contained in the UE3’s code, § [D.E. 106] 12. Silicon Knights,
however, believed that the list was insufficiently detailed, and obtained a court order compelling
Epic Games to disclose each specific trade secret, describe each trade secret in detail, and identify
the location of each trade secret in the UE3’s code. § 12-15. Complying with the court’s order,

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Epic Games, its attorneys and its experts specifically disclosed 1,442 alleged trade secrets, along
with a description and location of each. § Pl.’s Mem. Opp’n Mot. Attomey’s Fees 13; Def.’s
Reply Mot. Attomey’s Fees 7. By its broadly worded interrogatory for a detailed list of “each and
every trade secret” contained in “any aspect of the” UE3’s code, [D.E. 78] 12 (sealed), Silicon
Knights invited the increased attomey’s fees about which it now complains Holding Silicon
Knights responsible for those attomey’s fees is far from “f`undamentally unfair.” Pl. ’s Mem. Opp’n
Mot. Attomey’s Fees 13. During discovery, Silicon Knights insisted on a list of “each and every
trade secret” contained in “any aspect of the” UE3’s code, [D.E. 78] 12 (sealed). Silicon Knights
got its wish. Merely because Epic Games also identified 333 of the 1,442 trade secrets as those that
Silicon Knights had misappropriated does not warrant a reduced fee.

Silicon Knights does not otherwise challenge the reasonableness of Epic Games’s requested
attomey’s fees § Pl.’s Mem. Opp’n Mot. Attomey’s Fees 1-14. Thus, the court now turns to the
lodestar and §ns§n/BM analysis to determine the proper attomey’s fees award.

The court is very familiar with this case and has reviewed parties’ submissions concerning

Epic Games’s motion for attomey’s fees The court also has independently calculated a lodestar

 

figure and applied the relevant JohnsonfBM factors The court finds that Epic Games’s initial
request for $2,201,813.51 would have been reasonable had Epic Games been able to recover its
attomey’s fees for all of its counterclaims7 As explained, however, Epic Games cannot recover
attomey’s fees for its breach of contract counterclaim. Thus, the court must reduce Epic Games’s

request to reflect only the attomey’s fees Epic Games is entitled to recover. ln doing so, the court

 

7 The Kenyon, McCoy, and Packer declarations attached to Epic Games’s memorandum
[D.E. 815] were particularly helpful in analyzing the issue of attomey’s fees §e£ [D.E. 815-2, 815-
3, 815-4].

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notes that the central objective when determining an attomey’s fees award “is to do rough justice,
not to achieve auditing perfection.” Fox v. Vice, 131 S. Ct. 2205, 2216 (201 1). Accordingly, “trial
courts may take into account their overall sense of a suit, and may use estimates in calculating and
allocating an attomey’s time.” §

Epic Games’ s breach of contract counterclaim (standing alone) was not a maj or focus of this
case, Instead, Silicon Knights’s affirmative claims, Epic Games’s defenses to those claims, Epic
Games’s copyright infringement counterclaim, and Epic Games’s trade secret misappropriation
counterclaim dominated the case, including the parties’ discovery, pretrial motions, and trial. In
context, the parties spent relatively little time investigating, proving, or arguing about Silicon
Knights’s breach of the License Agreement. After reviewing the record (including the Kenyon
declaration and all of the time records), the court finds that a five percent reduction in Epic Games’s
attomey’s fees request is appropriate, In doing so, the court notes that the case has been pending for
five years, that there are over 800 docket entries, and that this court is very familiar with the entire
record. C_f. §§ 13 1 S. Ct. at 2216 (noting a district court’ s superior understanding of the litigation).
Accordingly, $2,091,722.83 represents a reasonable attomey’s fees award in this case, and the court
awards Epic Games that amount. In reaching this figure, the court has considered the time and labor
expended, the difficulty of the questions raised, the skill required, the customary fees for like work,
the amount in controversy, and the results obtained. The other Mn/BM factors are not
particularly relevant in this case,

As for Epic Games’s request for expert fees, Federal Rule of Civil Procedure 54(d)(1)
provides that “costs_other than attomey’s fees-should be allowed to the prevailing party.” Fed.

R. civ. P. 54(d)(1). Pursuant to 28 U.sc. § 1920(3), “cosrs” as used in Rule 54(d)(1) maude

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certain expert witness fees § 28 U.S.C. § 1920(3).8 Expert witness fees, however, are typically
limited under 28 U.S.C. § 1821 to “an attendance fee of $40 per day for each day’s attendance. A
witness shall also be paid the attendance fee for the time necessarily occupied in going to and
returning from the place of attendance at the beginning and end of such attendance or at any time
during such attendance.” 28 U.S.C. § 1821(b). Epic Games, however, requests expert witness fees
of $1,088,337.29, in excess of section 1821(b)’s per diem rate. §§ Def.’s Mot. Attomey’s Fees 1.

In support, Epic Games first contends that paragraph 2(e)(iii) of the License Agreement
permits the expert witness fees sought Def.’s Mem. Supp. Mot. Attomey’s Fees 2; Def.’s Reply
Mot. Attomey’s Fees 7-8. But the language of paragraph 2(e)(iii) belies Epic Games’s argument
Under North Carolina law, interpreting a written and unambiguous contract is a question of law for
the court. §r_iggs v. Am. & Efird Mills§, 251 N.C. 642, 644, 111 S.E.2d 841 , 843 (1960). When

construing contractual terms, a contract’s plain language controls See, §§, State v. Philip Morris

 

M, 363 N.C. 623, 631-32, 685 S.E.2d 85, 90-91 (2009); Hodgjb v. Brigbton, 196 N.C. App.
126, 128-29, 674 S.E.2d 444, 446 (2009); Hemric v. Groce, 169 N.C. App. 69, 76, 609 S.E.2d 276,
282 (2005). Paragraph 2(e)(iii) states that Silicon Knights “hereby agrees to indemnify and hold
harmless Epic [Garnes] from and against any expenses (including . . . reasonable fees of . . . expert
witnesses) . . . suffered by Epic [Garnes] arising out of [Silicon Knights’s] responsibility under”
section 2 of the License Agreement Pl.’s Ex. 1005 11 2(e)(iii); Def.’s Ex. 2001 11 2(e)(iii). The
explicit references to “indemnify” and “hold harmless” unambiguously demonstrate that paragraph

2(e)(iii) is merely an indemnity clause. § N.C. Mut. Life Ins. Co. v. McKinley Fin. Servs. Inc.,
No. 1:03CV00911, 2005 WL 3527050, at *9-10 (M.D.N.C. Dec. 22, 2005) (unpublished); Dixie

 

8 There were no court appointed experts in this case. Thus, 28 U.S.C. § 1920(6) does not
apply.

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Container Corp. v. Dale, 273 N.C. 624, 627-28, 160 S.E.2d 708, 711 (1968); Atl. Contracting &
Material Co. v. Adcock, 161 N.C. App. 273, 280, 588 S.E.2d 36, 41 (2003); Smith v. Carolina Coach
L, 120 N.C. App. 106, 113-14, 461 S.E.2d 362, 366-67 (1995).

The express references to “indemnify” and “hold harmless” likewise reveal the scope of
paragraph 2(e)(iii)’ s protections “As in the construction of any contract, the court’ s primary purpose
in construing [the scope of an indemnity clause] is to ascertain and give effect to the intention of the
parties and the ordinary rules of construction apply.” Dixie Container, 273 N.C. at 627, 160 S.E.2d
at 711; § Atl. Contracting, 161 N.C. App. at 280, 588 S.E.2d at 41. Paragraph 2(e)(iii)’s use of
“indemnify” and “hold harmless” shows that Silicon Knights and Epic Games intended paragraph
2(e)(iii) to shield Epic Games from losses or obligations incurred to third parties only. § §
Container, 273 N.C. at 627-28, 160 S.E.2d at 711; Atl. Contracting, 161 N.C. App. at 280, 588
S.E.2d at 41; m, 120 N.C. App. at 113-14, 461 S.E.2d at 366-67. As such, paragraph 2(e)(iii)
cannot support awarding expert witness fees to Epic Games in this case, S_e§ N.C. Mut. Life Ins.
L, 2005 WL 3527050, at l“9-10; Dixie Container, 273 N.C. at 627-28, 160 S.E.2d at 711; A_tl.
Contracting, 161 N.C. App. at 280, 588 S.E.2d at 41; m 120 N.C. App. at 113-14, 461 S.E.2d
at 366-67.

Opposing this conclusion, Epic Games argues that “the broad, unqualified scope of
[paragraph] 2(e)(iii) . . . distinguishes” that paragraph from a typical indemnity clause. Def.’s Reply
Mot. Attomey’s Fees 8. Epic Games’s references to breadth, however, cannot erase the plain
language of paragraph 2(e)(iii). S_eq §.C_omg, 161 N.C. App. at 279-80, 588 S.E.2d at 41.

Furthermore, paragraph 2(e)(iii) is materially indistinguishable from the provision at issue in North

 

Carolina Mutual Life Insurance Co. The indemnity clause in that case stated,
MGA agrees to indemnify, defend and hold harmless Company, its officers agents

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and employees from and against any and all liability, loss damage or expense,

including extracontractual and punitive damages and attomey’s fees incurred in

connection with claims or demands for damages of any nature whatsoever, to the

extent it is the result of any act or omission, tort[ious] or otherwise, of MGA, its

officers agents or employees . . . .
N.C. Mut. Life Ins., 2005 WL 3527050, at *9 (second alteration in oiiginal). Similarly, paragraph
2(e)(iii) states that Silicon Knights

hereby agrees to indemnify and hold harmless Epic [Garnes] H'om and against any

expenses (including court costs and reasonable fees of attorneys accountants and

expert witnesses), claims costs action, demand, proceeding, award, liability, loss

and damages suffered by Epic [Games] arising out of [Silicon Knights’s]

responsibility under [section 2 of the License Agreement].
Pl.’s Ex. 1005 11 2(e)(iii); Def.’s Ex. 2001 11 2(e)(iii). The wording of the two indemnity clauses
differs but not materially. Paragraph 2(e)(iii) is an indemnity clause insulating Epic Games &om
a loss or obligation incurred to a third party only. § N.C. Mut. Life Ins., 2005 WL 3527050, at
*9-10. Thus, paragraph 2(e)(iii) does not permit Epic Games to recover its requested expert
witness fees

Second, Epic Games contends that 17 U.S.C. § 505 authorizes the court to award expert
witness fees exceeding those provided in 28 U.S.C. § 1821(b). § Def.’s Mem. Supp. Mot.
Attomey’s Fees 3. Section 505 provides that “[i]n any civil action under [the federal Copyright Act],
the court in its discretion may allow the recovery of full costs by or against any party other than the
United States or an officer thereof.” 17 U.S.C. § 505. Circuit courts are split on whether section 505

authorizes an expert witness fees award in excess of the $40.00 per diem limit provided in section

1821(b). Compare Artisan Contractors Ass’n of Am. Inc. v. Frontier Ins. Co., 275 F.3d 1038,

 

103 8-40 (11th Cir. 2001) (per curiam) (not authorized), §d Pinkham v. Camex Inc., 84 F.3d 292,

 

295 (8th Cir. 1996) (per curiam) (same), with Twentieth Centurv Fox Film Cor'o. v. Entm’t Distrib.,
429 F.3d 869, 885 (9th Cir. 2005) (authoiized).

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In Crawford Fitting, the Supreme Court explained that

Congress has made its intent plain in its detailed treatment of witness fees [Courts]

will not lightly infer that Congress has repealed [sections] 1920 and 1821, either

through Rule 54(d) or any other provision not referring explicitly to witness fees As

always where there is no § intention otherwise, a specific statute will not be

controlled or nullified by a general one, regardless of the priority of enactment
Crawford Fitting, 482 U.S. at 444-45 (quotations and alteration omitted) (emphasis in original); §
Henkel v. Chi., St. P., M. & O. Ry. Co., 284 U.S. 444, 447 (1932); 10 Charles Alan Wright, Arthur
R. Miller & Mary Kay Kane, Federal Practice and Procedure § 2678 (3d ed. 1998). The Court’s
admonition in Crawford Fitting guides this court’s decision in this case, Section 505 authorizes an
award of “firll costs,” 17 U.S.C. § 505, but does not refer “explicitly to witness fees.” Crawford
_ELng, 482 U.S. at 445. Nor does the statute’s reference to “full costs,” 17 U.S.C. § 505, provide
“§f’ congressional intent to permit expert witness fees exceeding those authorized by sections
1821(b) and 1920. Crawford Fitting, 482 U.S. at 445 (emphasis in original); m Arista Records LLC
v. Gaines 635 F. Supp. 2d 414, 418-19 (E.D.N.C. 2009) (holding that the district court’s discretion
to award costs under section 505 is limited by section 1920). Accordingly, section 505 does not
authorize the court to award expert witness fees exceeding those provided for in sections 1821(b)
and 1920.

In short, Epic Games is not entitled to recoup expert witness fees in excess of those permitted
under 28 U.S.C. §§ 1821(b) and 1920. Epic Games did not specify the amount of expert witness fees
it claims under sections 1821(b) and 1920. Based on the information Epic Games provided, the
court finds that, conservatively, Epic Games may recover S680.00 in expert witness fees and awards
Epic Games that amount in expert witness fees §_e_g [D.E. 815-2] 256, 272, 288-89, 310.

IV.

Epic Games requests that the court amend the judgment under Federal Rule of Civil

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Procedure 59(e) to include $3,554,578.46 in prejudgment interest on Epic Games’s breach of
contract counterclaim. Def.’s Mot. Amend J. 1. Initially, Silicon Knights suggests that Rule 59(e)
cannot be used to amend a judgment to include prejudgment interest, Pl.’s Mem. Opp’n Mot.
Amend J. 1-2. However, Epic Games’s request for prejudgment interest is properly classified as a
request to amend the court’s judgment, and is governed by Rule 59(e). § Kosnoski v. Howley, 33
F.3d 376, 378 (4th Cir. 1994); B M Osterneck v. Ernst & Whinney, 489 U.S. 169, 175 (1989)
(“[U]nlike attorney’ s fees, which at common law were regarded as an element of costs and therefore
not part of the merits judgment, . . . interest traditionally has been considered part of the
compensation due plaintili°.”); Hexion Snecialt\&h_ems.. Inc. v. Oak-Bark Corr).. No. 7:09-CV-105-
D, 2012 WL 2458638, at *l (E.D.N.C. June 27, 2012) (unpublished). Accordingly, the court rejects
Silicon Knights’ s contrary suggestion and addresses Epic Games’ s request for prejudgment interest,

Awarding prejudgment interest is a “matter within the district court’s discretion.”
Maksmchuk v. Frank, 987 F.2d 1072, 1077 (4th Cir. 1993); United States v. Gggorv. 818 F.2d
1114, 1118 (4th Cir. 1987). A court should award prejudgment interest when doing so “serves the
legitimate goals of making a party whole, or compensating the injured party for the loss of the use
of money he would otherwise have had.” Marlen C. Robb & Son Boagard & Mg`na Inc. v. Vessel
M, 893 F. Supp. 526, 540 (E.D.N.C. 1994); B EEOC v.HLiggett & Mvers.Ln_g, 690 F.2d 1072,
1074 (4th Cir. 1982). Because North Carolina law governs Epic Games’s breach of contract
counterclaim, the court looks to North Carolina law to determine whether to award prejudgment
interest to Epic Games on that counterclaim. § Hitachi Credit Am. Co;p. v. Signet Bank, 166 F.3d
614, 633 (4th Cir. 1999).

North Carolina General Statute § 24-5 provides that “[i]n an action for breach of contract .
. . the amount awarded on the contract bears interest from the date of breach.” N.C. Gen. Stat. § 24-

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5 (a). “If the parties have agreed in the contract that the contract rate shall apply atterjudgment, then
interest on an award in a contract action shall be at the contract rate after judgment; otherwise, it
shall be at the legal rate.” Ld. “The legal rate of interest [is] eight percent (8%) per annum for such

time as interest may accrue, and no more.” N.C. Gen. Stat. § 24-1; see Barrett Kavs & Assocs.. P.A.

 

v. Colonial Bldg. Co.nlnc. of Raleigh, 129 N.C. App. 525, 529, 500 S.E.2d 108, 111-12 (1998). A
party is “entitled to interest from the date of the breach as a matter of law” only after “breach is
established.” Cap Care §}_rp., Inc. v. McDonald, 149 N.C. App. 817, 824, 561 S.E.2d 578, 583
(2002).

Opposing Epic Games’s request for prejudgment interest, Silicon Knights argues that Epic
Games has not, and cannot, identify reasonably certain dates on which Silicon Knights breached the

License Agreement, Pl.’s Mem. Opp’n Mot. Amend J. 2-3; see M Def.’s Mem. Supp. Mot.

 

Amend J. 4-5; Def.’s Reply Mot. Amend J. 3-4. A party prevailing on its breach of contract claim

is entitled to interest from the date of breach. Thomas M. Mclnnis & Assocs. Inc. v. Hall, 318 N.C.

 

421, 431, 349 S.E.2d 552, 558 (1986). If the parties do not submit the issue to a jury, the court may
detemrine the date of breach. Sockwell & Assocs., Inc. v. Sykes Enters. Inc., 127 N.C. App. 139,
143, 487 S.E.2d 795, 798 (1997); Metromont Materials Corr). v. R.B.R. & S.T.. 120 N.C. App. 616,
618, 463 S.E.2d 305, 307 (1995). In doing so, the court may, but does not have to, select “the latest
[date] on which breach could have been found.” Taha v. Thompson, 120 N.C. App. 697, 703, 463
S.E.2d 553, 557 (1995); B Sockwell & Assocs., 127 N.C. App. at 143, 487 S.E.2d at 798.
Evidence in the record must support the court’s finding as to the date of breach. M Sockwell &
M, 127 N.C. App. at 143, 487 S.E.2d at 798.

The jury found that Silicon Knights breached the License Agreement by failing to pay
licensing fees for The Box/Ritualyst, The Sandman, X-Men: Destinv. and Siren in the Maelstrom.

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§ [D.E. 802] 2 (finding that Silicon Knights was liable to Epic Games for $2,650,000.00 in
darnages, an amount equating to the unpaid licensing fees Silicon Knights owed Epic Games under
the License Agreement for The Box/Ritualvs_t, The Sandman, X-Men: Destiny, and Siren in the
Maelstrom); ge M Pl.’s Ex. 1005, Ex. A; Def.’s Ex. 2001, Ex. A. The jury did not detemrine the
specific date on which Silicon Knights breached the License Agreement with respect to each of those
games. g [D.E. 802] 2. Thus, for each garne, the court must detemrine the date on which the
breach occurred. w Sockwell & Assocs., 127 N.C. App. at 143, 487 S.E.2d at 798; Metromont
Materials, 120 N.C. App. at 618, 463 S.E.2d at 307. In doing so, the court has reviewed the record.
Being conservative, the court relies on the dates provided in defendant’s exhibit 2384 and the
evidence that supports those dates. That evidence demonstrates that (1) on July 29, 2008, m
Box/Ritualyst contained 20,259 lines of Epic Games’s UE3 code, (2) on July 29, 2008, The Sandman
contained 20,259 lines of Epic Games’s UE3 code, (3) on November 11, 2008, X-Men: Destiny
contained 16,065 lines of Epic Games’s UE3 code, and, (4) on September 17, 2009, Siren in the
Maelstrom contained 535 lines of Epic Games’s UE3 code, w, g&, Def.’s Ex. 23 84; B Felton
Tr. May 24, 2012 PM [D.E. 858-1] at 67-70. Because each of those games contained Epic Games’s
UE3 code by the dates indicated, each of those dates represents the date on which, according to the
evidence presented at trial, Silicon Knights used the UE3 to develop those videogames. Under
sections 2(a), 2(g), and Exhibit A of the License Agreement, Silicon Knights was required to pay
Epic Games the contractually required licensing fee. Silicon Knights did not make those payments,
however, and thereby breached the License Agreement, Accordingly, based on the evidence
presented at trial, the court finds that (1) as to The Box/Ritualyst, Silicon Knights breached the
License Agreement on July 29, 2008, (2) as to Mdman, Silicon Knights breached the License
Agreement on July 29, 2008, (3) as to M, Silicon Knights breached the License

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Agreement on November l l, 2008, and, (4) as to Siren in the Maelstrom, Silicon Knights breached
the License Agreement on September 17, 2009. The court will calculate prejudgment interest as of
those dates.

The parties disagree on how to calculate prejudgment interest, The parties agree that the
applicable interest rate is 1.5 percent per month. S_ee Def.’s Mem. Supp. Mot. Amend J. 3; Pl.’s

Mem. Opp’n Mot. Amend J. 4; accord Pl.’s Ex. 1005, Ex. A; Def.’s Ex. 2001 , Ex. A. Epic Garnes,

 

however, argues that the License Agreement requires compound interest, Def. ’s Mem. Supp. Mot.
Amend J. 3; Def. ’ s Reply Mot. Amend J . 5-6. Silicon Knights contends that the License Agreement
requires simple interest, Pl.’s Mem. Opp’n Mot. Amend J. 3-4.

Typically, compound interest is not permitted unless otherwise specified by statute or by
contract. § Cherokee Nation v. United States. 270 U.S. 47 6, 490 (1926) (collecting cases); RLald
J. & Dana Cohen Farnily Ltd. P’ship v. City of Capitals, Inc., 829 F.2d 36, 1987 WL 44680, at *1
(4th Cir. 1987) (per curiam) (unpublished) (collecting cases). Here, the “Payment Terms” provision
in Exhibit A of` the License Agreement provides that “[i]nterest shall accrue on all amounts not paid
at a rate, calculated upon the unpaid balance, of the lesser of: (i) one and one-half percent (1.5%)
per month; or (ii) the highest rate allowed by law.” Pl.’s Ex. 1005, Ex. A; Def.’s Ex. 2001, Ex. A.
Interest on “all amounts” and on “the unpaid balance” is considered compound interest. w w
Corp. v. Crosbv-Miss. Res.. Ltd.. 40 F.3d 1474, 1488-89 (5th Cir. 1995) (per curiam); Texon Energy
Corp. v. DoW Chem. Co., 733 S.W.2d 328, 331 (Tex. App. 1987); Fishburne v. Hartsfield Loan &
M, 38 Ga. App. 7 84, 145 S.E. 495, 495-96 (1928); C_f- Ronald J. & Dana Cohen Family, 1987
WL 44680, at *1-2. Thus, for its breach of contract counterclaim, Epic Games is entitled to 1.5
percent interest, compounded monthly from the date of breach for Myit, mm
X-Men: Destinv. and Siren in the Maelstrom. Accordingly, the court awards Epic Games a total of

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$2,302,147.96 in prejudgment interest on its breach of contract counterclaim, and will amend the
judgment accordingly.
V.

In its motion for remittitur, Silicon Knights contends that Epic Games cannot recover
damages for both its breach of contract counterclaim and its copyright infringement and trade secret
misappropriation counterclaims Pl.’s Mem. Supp. Mot. Remittitur 3-4. Specifically, Silicon
Knights argues that the damages the jury awarded to Epic Games constitute double recovery, that
Epic Games is entitled only to the damages awarded on its breach of contract counterclaim, and that
the judgment should be amended accordingly. Ld. 4.

In opposition to Silicon Knights’s remittitur motion, Epic Games argues that the damages
awarded for its breach of contract counterclaim did not overlap with the damages awarded for its
copyright infringement and trade secret misappropriation counterclaims Def.’s Mem. Opp’n Mot.
Remittitur l-3; g Epic Games Closing Tr. May 29, 2012 AM at 170-78. Specifically, Epic Games
contends that, for its breach of contract counterclaim, the jury awarded only the unpaid licensing fees
for The Box/Ritualyst, X-Men: Destiny, The Sandman, and Siren in the Maelstrom. g Def.’s
Mem. Opp’n Mot. Remittitur l-3. In contrast, for its copyright infringement and trade secret
misappropriation counterclaims, Epic Games argues that the jury awarded only the ill-gotten profits
Silicon Knights reaped from its copyright inii‘ingement and trade secret misappropriation as to m
Box/Ritualyst, X-Men: Destiny, The Sandman, and Siren in the Maelstrom. I_d_. Because the
damages Epic Games sought and received for its breach of contract counterclaim did not overlap
with those it sought and received for its copyright infringement and trade secret misappropriation
counterclaims, and because governing law permits the recovery of these distinct damages, Epic
Games argues that remittitur is not appropriate, _Sg §

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Epic Games’s argument comports with the evidence, arguments, and legal principles in this
case, In connection with Epic Games’ s breach of contract counterclaim, the court instructed the jury
that Epic Games had to prove (l) that Silicon Knights and Epic Games entered into the May 10,
2005 license agreement, (2) that Silicon Knights breached either paragraph 2(a) or paragraph 2(g),
or both, and (3) that Epic Games suffered damages as a proximate result of Silicon Knights’s breach
of paragraph 2(a) or paragraph 2(g), or both. S§ee [D.E. 860-1] at 36. The breach of contract
counterclaim concerned the unpaid licensing fees for The BofoituM, X-Men: Destinv. The
Sandman, and Siren in the Maelstrom. As for damages on the breach of contract counterclaim, the
court instructed the jury as to both nominal and actual damages I_d_. at 38-39.

In connection with the copyright infringement counterclaim under the federal Copyright Act,
the court instructed the jury (l) that Epic Games had to prove that Epic Games is the owner of a valid
copyright or valid copyrights and (2) that Silicon Knights copied original elements from a version
or versions of the Unreal Engine 3’s computer code in which Epic Games owns a valid copyright.
w § at 39-40. The court then gave extensive instructions expounding on these two elements
S_ § at 40-49. As for the trade secret misappropriation counterclaim under North Carolina’s
Trade Secrets Protection Act, the court instructed the jury that Epic Games had to prove (l) that Epic
Games’s proprietary information in the Unreal Engine 3’s computer code constitutes a trade secret
or trade secrets; (2) that Silicon Knights misappropriated Epic Games’s trade secret or trade secrets,
and (3) that Silicon Knights’ s misappropriation of Epic Games’s trade secret or trade secrets resulted
in the unjust enrichment of Silicon Knights S_ee § at 49. The court then gave extensive
instructions expounding on these elements § at 49-55.

As for damages on the copyright infringement counterclaim and trade secret misappropriation
counterclaim, the court instructed the jury:

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If you find that Silicon Knights infringed a copyright or copyrights of Epic
Games, or misappropriated a trade secret or trade secrets of Epic Games, then you
must determine the amount of damages that Epic Games is entitled to recover. Epic
Games is entitled to recover any of Silicon Knights’ [s] net profits attributable to any
copyright infringement or trade secret misappropriation by Silicon Knights.
Therefore, you should [a] ward Epic Games Silicon Knights’ [s] net profits only if you
find that Epic Games proved a causal relationship between any copyright
infringement or trade secret misappropriation and any net profits of Silicon Knights.

Net profits are the difference between total revenues and total expenses
Silicon Knights’[s] total revenue is all of Silicon Knights’[s] receipts from uses or
sales of all works, if any, that infringe a copyright or copyrights of Epic Games or
that rnisappropriate a trade secret or trade secrets of Epic Games Epic Games has
the burden of proving by a preponderance of the evidence Silicon Knights’ [s] total
revenues

Silicon Knights’ [s] total expenses are all operating costs and production costs
incurred in producing Silicon Knights’[s] total revenue on all works, if any, that
infringe a copyright or copyrights of Epic Games or that misappropriated the trade
secret or trade secrets of Epic Garnes. Silicon Knights has the burden of proving by
a preponderance of the evidence its total expenses

To calculate total revenues and total expenses, you should begin by
calculating the revenues and expenses associated with each of Silicon Knights’[s]
works, if any, that infringes a copyright or copyrights of Epic Games or that
misappropriates a trade secret or trade secrets of Epic Games Once you have
calculated Silicon Knights’ [s] revenues and expenses for each of . . . those works, if
any, you should add all the revenues together and add all the expenses together. The
resulting sums will be Silicon Knights’[s] total revenues and total expenses You
should then subtract Silicon Knights’[s] total expenses from its total revenues The
resulting difference will be Silicon Knights’ [s] net profits or net losses on all works,
if any, that infringe a copyright or copyrights of Epic Games or that misappropriated
a trade secret or trade secrets of Epic Games

In making these calculations, you should attribute all of Silicon Knights’ [s]
revenue for any given work to any infringement or misappropriation committed by
Silicon Knights, unless you find that a portion of Silicon Knights’ [s] revenues
derived from that work is attributable to factors other than Silicon Knights’ [s] use of
Epic Games’ [s] copyrighted works or trade secrets. Silicon Knights has the burden
of proving the portion of its revenues, if any, attributable to factors other than any
infringement by Silicon Knights of Epic Games’ [s] copyrighted work or works [,] or
any misappropriation by Silicon Knights of Epic Games’[s] trade secret or trade
secrets.

Finally, Epic Games seeks to recover Silicon Knights’[s] net profits on the

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following four video game projects only[:] The Box/Ritualyst, X-Men: Destiny, m
Sandman, and Siren in the Maelstrom. Accordingly, you should consider only those
four video game projects when calculating revenues, expenses, [total revenues,] total
expenses, and net profits.

S § at 52-55. In addition, the court instructed the jury that Epic Games was not entitled to double

recovery on the copyright infringement counterclaim and the trade secret misappropriation
counterclaim. § § at 55. Specifically, the court instructed the jury:

When a party owns both a copyright and a trade secret in the same material,
that party may not obtain a double recover[y] [when] the damages for copyright
infringement and trade secret misappropriation are coextensive. In other words, if
you find that Epic Games owned a copyright and a trade secret or trade secrets in the
same material[,] and that the same actions by Silicon Knights infringed that copyright
and misappropriated that trade secret or trade secrets, then Epic Games is entitled to
recover damages for either Silicon Knights’ [s] infringement of that copyrighted
material or Silicon Knights’ [s] misappropriation of that trade secret, but not for both.

Under the federal Copyright Act, Epic Games could have sought “to recover the actual
damages suffered by [it] as a result of the infringement, and any profits of the infringer that are
attributable to the infringement and are not taken into account in computing the actual damages.”

17 U.S.C. § 504(b); Walker v. Forbes Inc., 28 F.3d409, 412 (4th Cir. 1994). Epic Games, however,

 

only sought Silicon Knights’s ill-gotten profits. § [D.E. 860-1] at 39-49, 52-55. Likewise, under
the North Carolina Trade Secrets Protection Act, Epic Games only sought “the unjust enrichment
caused by misappropriation of a trade secret.” N.C. Gen. Stat. § 66-154(b).

As noted, the jury awarded Epic Games $2,650,000.00 in actual damages on the breach of
contract counterclaim and $1,800,000.00 on the copyright infringement and trade secret
misappropriation counterclaims w [D.E. 802]. The recovery on the breach of contract
counterclaim served a different interest and was not based on the same conduct or proof as the
conduct and proof giving rise to the recovery on the copyright infringement and trade secret

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misappropriation counterclaims The breach of contract counterclaim only made Silicon Knights
pay the licensing fee due to Epic Games under the May 10, 2005 licensing agreement for m
Box/Ritualyst, X-Men: Destiny, The Sandman, and Siren in the Maelstrom. In contrast, Epic
Games’s copyright infringement and trade secret misappropriation counterclaim only stripped
Silicon Knights of the “profit generated as a result of the use of the infiinged [code and
misappropriated trade secrets].” M, 28 F.3d at 412. “By stripping the infringer . . . of the profit
generated as a result of the use of the infringed item, [17 U.S.C. § 504(b)] makes clear that there is
no gain to be made from taking someone else’s intellectual property without their consent.” §; M

McRoberts Sofiware Inc. v. Media 100 Inc., 329 F.3d 557, 566-70 (7th Cir. 2003). Moreover, this

 

court’s conclusion that there is no double recovery in this case not only comports with 17 U.S.C. §
5 04(b), but also with North Carolina law. E, §&, United Labs., Inc. v. Kuykendall, 335 N.C. 183,
191-94, 437 S.E.2d 374, 379-81 (1993). Finally, the court has reviewed the cases that Silicon
Knights cited in its memorandum and reply and finds that the cited cases are distinguishable from
the evidence, argument, and legal principles at issue in this case. §§ M, 28 F.3d at 412
(“[G] iven the remarkable breadth of works eligible for copyright protection, and the numerosity of
variables involved in determining loss and gain under each scenario, the experience of copyright
damages has been one of case-by-case assessment of the factors involved, rather than application of
hard and fast rules.”). Accordingly, the court denies Silicon Knights’s motion for remittitur.
VI.

In its motion for a permanent injunction, Epic Games seeks to require Silicon Knights to
remove from its systems all of Epic Games’ s copyrighted material and trade secrets, to enjoin Silicon
Knights from distributing any product that contains Epic Games’s copyrighted material or trade
secrets, and to enjoin Silicon Knights from creating any product using Epic Games’s copyrighted

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material or trade secrets m Def.’s Mot. lnj. 1-3; Def.’s Mem. Supp. Mot. lnj. 1-2. North Carolina
General Statute § 66-154(a) provides that “actual . . . misappropriation of a trade secret . . . shall be
permanently enjoined upon judgment finding misappropriation for the period that the trade secret
exists plus an additional period as the court may deem necessary under the circumstances to
eliminate any inequitable or unjust advantage arising from the misappropriation.” N.C. Gen. Stat.
§ 66-154(a). The federal Copyright Act similarly permits a court to grant a permanent injunction “on
such terms as it may deem reasonable to prevent or restrain infringement of a copyright.” 17 U.S.C.
§ 502(a); Christopher Phelps & Assocs., LLC v. Galloway, 492 F.3d 532, 546-47 (4th Cir. 2007).
Such an injunction may include “the destruction or other reasonable disposition of all copies . . .
found to have been made or used in violation of the copyright owner’s exclusive rights and of all
. . . articles by means of which such copies . . . may be reproduced.” 17 U.S.C. § 503 (b).

Epic Games and Silicon Knights agree that a permanent injunction is authorized and
appropriate in this case. § Def.’s Mem. Supp. Mot. lnj. 6; Pl.’s Mem. Opp’n Mot. lnj. 1-5
(disputing the most reasonable scope of a permanent inj unction, but failing to argue that a permanent
injunction is altogether improper in this case). The parties however, dispute the scope of the
injunction, §§ Def’s Mem. Supp. Mot. lnj. 6-8; Pl.’s Mem. Opp’n Mot. lnj. 2-5; Def’s Reply
Mot. lnj. 1-4.

The court has reviewed the parties’ arguments reviewed the entire record (including the
License Agreement), and reflected on the nature and extent of Silicon Knights’s copyright
infringement and trade secret misappropriation The court also has reflected on Silicon Knights’s
“code cleanup” effort and considered the nature of the video game and game engine industries The
court finds that injunctive relief is appropriate, Such relief prevents Silicon Knights from benefitting
from its wrongdoing and continuing the irreparable harm to Epic Games Such relief also comports

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with the balance of hardships between Epic Games and Silicon Knights and is in the public interest,

Thus, the court orders the following injunctive relief:

1.

Silicon Knights shall permanently cease using Epic Games’s Licensed Technology
(as defined in section lG) of the License Agreement),

Silicon Knights shall remove all of Epic Games’s Licensed Technology from Silicon
Knights’s game engine and, at Silicon Knights’s expense, permit Epic Games
(through its designated consultants) to independently verify that Silicon Knights’s
game engine no longer contains any of Epic Games’s Licenced Technology. Silicon
Knights also shall make available to Epic Games (through its designated consultants)
Silicon Knights’ s computers servers databases Perforce repositories and any other
systems databases data storage devices internal wiki, data storage locations
directory listings and equipment Epic Games may access these items and Silicon
Knights’s premises to verify that Silicon Knights has fully complied with this
permanent injunction,

Afier Silicon Knights has removed all of Epic Games’s Licensed Technology from
Silicon Knights’s game engine, and after Epic Games has at Silicon Knights’s
expense, independently verified that Silicon Knights’s game engine no longer
contains any of Epic Games’s Licensed Technology, Silicon Knights shall destroy the
code for all prior versions of Silicon Knights’s game engine in its possession.
Silicon Knights shall comply fully with the obligations imposed by paragraph 10(c)(i)
of the License Agreement Silicon Knights however, shall not fill any orders as
discussed in paragraph 10(c)(i)(A) or keep copies “of the Licensed Technology or
any portion thereof (whether modified) or not in its possession” as discussed in

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Paragraph 10(¢)(i)(B)-

5. Not later than December 10, 2012, Silicon Knights shall destroy all versions of the
Licensed Technology in its possession, including (but not limited to) the video game
code and game engine code for Too Human, The Box/Ritualyst, The Sandman, §
Men: Destiny, and Siren in the Maelstrom, all other game code that was created using
the Licensed Technology, all versions of the Unreal Engine 3, and all copies of any
information obtained &om the licensee restricted portions of the Unreal Developer
Network.

6. Silicon Knights shall cease producing or distributing Too Human, The Box/Ritualyst,
The Sandman, X-Men: Destinv. and Siren in the Maelstrom, and shall recall and
destroy (at the expense of Silicon Knights) all unsold copies of Too Human, '[L
Box/Ritualyst, The Sandman, X-Men: Destiny, and Siren in the Maelstrom.

7. Silicon Knights shall cease producing or distributing any product containing Epic
Games’s Licensed Technology, and shall recall and destroy (at the expense of
Silicon Knights) any such products that remain unsold.

8. Silicon Knights shall notify the court and Epic Games not later than December 21,
2012, and again on February 21, 2013, concerning its compliance with this
injunction,

Vl].

As for Silicon Knights’s motion for judgment as a matter of law, Federal Rule of Civil
Procedure 50 permits a court to grant a motion for judgment as a matter of law “after a party has
been fully heard on an issue only if there is no legally sufficient evidentiary basis for a reasonable
jury to have found for that party with respect to that issue.” R_ob`Lo_n, 560 F.3d at 240 (quotations

4l

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omitted); see Fed. R. Civ. P. 50(a)-(b); Reeves v. Sanderson Plumbing Prods.. Inc., 530 U.S. 133,

 

149-51 (2000); Brown v. CSX Transr).. Inc., 18 F.3d 245, 248 (4th Cir. 1994). When considering
a motion under Rule 50, a court must review the entire record and examine the evidence in the light

most favorable to the non-moving party. _S_e_e_, sga Reeves 530 U.S. at 149-51; Brown, 18 F.3d at

 

248.

The court listened to the testimony and reviewed exhibits as Silicon Knights presented its
affirmative case on and Epic Games defended against Silicon Knights’s breach of contract claim.
The court paid equally close attention to the testimony and exhibits as Epic Games presented its
affirmative case on and Silicon Knights defended against Epic Games’s counterclaims On May 25,
2012, Silicon Knights moved for judgment as a matter of law on Epic Games’s remaining
counterclaims w Tr. May 25, 2012 PM at 54. The court heard oral arguments from the parties
that day, § at 54-65, and took the motion under advisement to reflect on the evidence and
arguments presented. § at 65. On May 29, 2012, the court denied Silicon Knights’s motion for
judgment as a matter of law. Tr. May 29, 2012 AM at 32. Since trial, the court has spent
considerable time rereading the trial transcripts and reviewing the trial exhibits On July 2, 2012,
Silicon Knights renewed its motion for judgment as a matter of law on Epic Games’s copyright
infringement and trade secret misappropriation counterclaims and on the related damages award.
w Pl.’s Mot. J. as Matter of Law. Both parties fully briefed their positions w Pl.’s Mem. Supp.
Mot. J. as Matter of Law; Def.’s Mem. Opp’n Mot. J. as Matter of Law; Pl.’s Reply Mot. J. as Matter
of Law.

In connection with Silicon Knights’ s renewed motion and the parties’ corresponding filings
the court has again reviewed and reflected on the evidence and arguments presented. Viewing the
record in the light most favorable to Epic Games under Rule 50, overwhelming evidence establishes

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and supports Epic Games’ s copyright infringement and trade secret misappropriation counterclaims
Silicon Knights’s arguments to the contrary are baseless Accordingly, the court denies Silicon
Knights’s motion for judgment as a matter of law.

V]]I.

Epic Games seeks to compel complete responses to its post-judgment interrogatories and
requests for production regarding Silicon Knights’s past and present assets and finances w Def.’s
Mot. Compel 1-2; [D.E. 828-1] (providing the disputed interrogatories and requests for production,
and Silicon Knights’s responses to them). Federal Rule of Civil Procedure 37(a)(1) provides that
a party may move to compel answers to interrogatories and responses to requests for production. g
Fed. R. Civ. P. 37(a)(3)(B). Before a court may consider such a motion, the parties must meet and
confer regarding the discovery requests and attempt in good faith to resolve the discovery dispute
without court action. S_ee Fed. R. Civ. P. 37(a)(1); Local Civil Rule 7 . 1 (c). Silicon Knights contends
that Epic Games failed to comply with Rule 37(a)(1) and Local Civil Rule 7.1(c). Pl.’s Mem. Opp’n
Mot. Compel 2-3. The court has reviewed Silicon Knights’s arguments and the corresponding
exhibits The court finds that Epic Games complied with its obligation to meet and confer and to
attempt in good faith to resolve the discovery disputes at issue. Silicon Knights and Epic Games
have simply reached an impasse as to the appropriate scope of post-judgment discovery regarding
Silicon Knights’s past and present assets and finances Thus, the court addresses the merits of Epic
Games’s motion to compel.

Pursuant to Federal Rule of Civil Procedure 26(b)(1),

[p]arties may obtain discovery regarding any nonprivileged matter that is relevant to

any party’s claim or defense_including the existence, description, nature, custody,

condition, and location of any documents or other tangible things and the identity and

location of persons who know of any discoverable matter. F or good cause, the court

may order discovery of any matter relevant to the subject matter involved in the

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action. Relevant information need not be admissible at the trial if the discovery
appears reasonably calculated to lead to the discovery of admissible evidence.

Fed. R. Civ. P. 26(b)(1). Federal Rule of Civil Procedure 69(a)(2) provides that “[i]n aid of the
judgment or execution, the judgment creditor . . . may obtain discovery from any person_including
the judgment debtor_as provided in these rules.” Fed. R. Civ. P. 69(a)(2).

“[D]iscovery rules are to be accorded a broad and liberal treatment to effect their purpose of
adequately informing the litigants in civil trials.” Herbert v. Lando, 441 U.S. 153, 177 (1979); g
Hickman v. Taylor, 329 U.S. 495, 507 (1947). Accordingly, “[d]iscovery under the Federal Rules
of Civil Procedure is . . . freely permitted.” Carefirst of Md.. Inc. v. Carefirst Preg@cv Ctrs.. Inc.,
334 F.3d 390, 402 (4th Cir. 2003). A litigant, however, is not entitled to conduct discovery that is
intended to harass annoy, embarrass or oppress or that causes undue burden or expense to the
opposing party. § Fed. R. Civ. P. 26(c). Nevertheless the party opposing a motion to compel
must demonstrate why discovery should not be granted. SAS Inst. Inc. v. Akin Gurnp Strauss Hauer

& Feld LLP, No. 5:10-CV-101-H, 2011 WL 6370482, at *2 (E.D.N.C. Dec. 20, 2011)

 

 

(unpublished); Mainstreet Collection Inc. v. Kirkland’s Inc., 270 F.R.D. 238, 240 (E.D.N.C. 2010).
When evaluating a motion to compel discovery, the court enjoys broad discretion. §§ Carefirst of

M_d., 334 F.3d at 402; Lone Star Steakhouse & SalooL lnc. v. Alpha of Va., Inc., 43 F.3d 922, 929

(4th Cir. 1995); Erdrnann v. Preferred Research Inc., 852 F.2d 7 88, 792 (4th Cir. 1988); LaRouche

 

v. Nat’l Broad. Co. Inc., 780 F.2d 1134, 1139 (4th Cir. 1986).

 

On June 20, 2012, Epic Games served on Silicon Knights fourteen interrogatories and sixteen
requests for production. _Se_e Def.’s Mot. Compe12; Def.’s Mem. Supp. Mot. Compel 2; c_f. [D.E.
828-1]. Epic Games’s interrogatories and requests for production seek information and documents

concerning Silicon Knights’s assets and finances &om July 18, 2007, to the present. § [D.E. 828-

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1]. On July 20, 2012, Silicon Knights responded. w Def.’s Mot. Compel 2; Def.’s Mem. Supp.
Mot. Compe12; c_f= [D.E. 828-1]. Silicon Knights’s responses to Epic Games’s interrogatories and
requests for production comprise nothing but a laundry list of boilerplate objections w [D.E. 828-
l]. Silicon Knights has failed to articulate any specific objection to any particular interrogatory or
request for production, and therefore has waived any legitimate objection it otherwise could have
raised. § McLeod. Alexander. Powel & Ar)ffel. P.C. v. Ouarles, 894 F.2d 1482, 1484-85 (5th Cir.
1990); Panola Land Buyers Ass’n v. Shuman, 762 F.2d 1550, 1558-59 (l lth Cir. 1985); Josephs v.
Harris Corp., 677 F.2d 985, 991-92 (3d Cir. 1982); Mainstreet Collection, 270 F.R.D. at 240;
Kinetic Concents.Ln_c. v. ConvaTec Inc., 268 F.R.D. 226, 247 (M.D.N.C. 2010) (collecting cases);
Hy-Ko Prods. Co. v. Hillman Clrp., Inc., No. 5:09-MC-00032, 2009 WL 3258603, at * 1-2 (E.D.N.C.
Oct. 8, 2009) (unpublished).

In addition to boilerplate objections Silicon Knights also added specious responses to some
discovery requests. For example, in response to Epic Games’s eighth and ninth requests for
production, Silicon Knights stated that, “[s]ubject to and without waiving any of [its] objections .
. . , [Silicon Knights] will endeavor to identify and produce appropriately responsive documents.”
[D.E. 828-1] 41, 43. This vague, open-ended response merely “state[s] an intention to make some
production at an unspecified date of [Silicon Knights’s] own choosing[,] . . . is not a complete
answer as required by Rule 34(b) and, therefore, pursuant to Rule 37(a)(3) is treated as a failure to
answer or respond.” Kinetic Concepts, 268 F.R.D. at 247 (quotation omitted); m J_ayr_rel~l§Lee,§:l
v. Flagstaff Indus. Corp., 173 F.R.D. 651, 656 (D. Md. 1997).

Altematively, even assuming Silicon Knights’s objections to Epic Games’s interrogatories
and requests for production rise above the level of specious boilerplate objections those objections
fail. Silicon Knights contends that Epic Games’s interrogatories and requests for production are

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overly broad and unduly burdensome because they seek information and documents pertaining to
Silicon Knights’s assets and finances before May 30, 2012, the date of judgment, rather than
information and documents pertaining exclusively to Silicon Knights’s current assets and finances
§ Pl.’s Mem. Opp’n Mot. Compel 3-4.

Essentially, Silicon Knights makes a relevance obj ection. The standard for relevance during
discovery differs from that during trial. m Fed. R. Civ. P. 26(b)(1). To be relevant during
discovery, “information need not be admissible at the trial.” § The requested information must
simply be “reasonably calculated to lead to the discovery of admissible evidence.” § Accordingly,
relevance during discovery is “construed broadly to encompass any matter that bears on, or that
reasonably could lead to other matter that could bear on, any issue that is or may be in the case.”
Opmnheimer Fun¢ Inc. v. Sanders, 437 U.S. 340, 351 (1978). The party opposing discovery bears
the burden of showing that the requested information is not relevant.

Silicon Knights has not met its burden. Information and documents pertaining to Silicon
Knights’s prejudgment assets and finances is relevant to determining whether Silicon Knights has
in preparation for a possible judgment, secreted, hidden, wasted, or otherwise improperly disposed
of assets §_e_e Caisson Corp. v. Cng. West Bldg. Corp., 62 F.R.D. 331, 334 (E.D. Pa. 1974);
Monticello Toba§co Co. v. Am. Tobacco Co., 12 F.R.D. 344, 345 (S.D.N.Y. 1952). “In aid of the
judgment or execution,” Epic Games may discover this information. Fed. R. Civ. P. 69(a)(2).
Accordingly, the court grants Epic Games’s motion to compel complete responses to its
interrogatories and requests for production. Silicon Knights shall provide complete responses to the

requested discovery not later than December 3, 2012,

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IX.

In sum, the court DENIES Silicon Knights’s motion to stay [D.E. 808]. The court GRANTS
lN PART and DENIES IN PART Epic Games’s motion for costs [D.E. 813], GRANTS lN PART
and DENIES IN PART Silicon Knights’s motion to disallow costs [D.E. 838], and awards Epic
Games $277,852.13 in costs The court GRANTS IN PART and DENIES IN PART Epic Games’s
motion for attomey’s fees and expert witness fees [D.E. 814], awards Epic Games $2,091,722.83
in attomey’s fees and awards Epic Games $680.00 in expert witness fees The court GRANTS lN
PART and DENIES IN PART Epic Games’s motion to amend the judgment [D.E. 816] and amends
the judgment [D.E. 804] to reflect $2,302,147.96 in prejudgment interest on Epic Games’s breach
of contract counterclaim. The court DENIES Silicon Knights’s motion to alter the judgment by
remittitur [D.E. 818]. The court GRANTS lN PART and DENIES IN PART Epic Games’s motion
for a permanent injunction [D.E. 820] and ORDERS the injunctive relief described in this order.
The court DENIES Silicon Knights’s motion for judgment as a matter of law [D.E. 824]. The court
GRANTS Epic Games’s motion to compel [D.E. 828]. Silicon Knights shall provide complete
responses to the requested discovery not later than December 3, 2012. Finally, the court GRANTS
Epic Games’s two motions to seal [D.E. 823, 833]. The court retains jurisdiction to ensure
compliance with its injunction and this order.

SO ORDERED. This f day of November 2012.

     

S C. DEVER III
nited States District Judge

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